Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 1 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 2 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 3 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 4 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 5 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 6 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 7 of 8
Case 1:19-cv-08694-VM Document 17 Filed 09/23/19 Page 8 of 8
Case 1:19-cv-08694-VM Document 17-1 Filed 09/23/19 Page 1 of 1




             EXHIBIT 1
            [REDACTED]
Case 1:19-cv-08694-VM Document 17-2 Filed 09/23/19 Page 1 of 3
Case 1:19-cv-08694-VM Document 17-2 Filed 09/23/19 Page 2 of 3
Case 1:19-cv-08694-VM Document 17-2 Filed 09/23/19 Page 3 of 3
Case 1:19-cv-08694-VM Document 17-3 Filed 09/23/19 Page 1 of 3
Case 1:19-cv-08694-VM Document 17-3 Filed 09/23/19 Page 2 of 3
Case 1:19-cv-08694-VM Document 17-3 Filed 09/23/19 Page 3 of 3
Case 1:19-cv-08694-VM Document 17-4 Filed 09/23/19 Page 1 of 2
Case 1:19-cv-08694-VM Document 17-4 Filed 09/23/19 Page 2 of 2
